y . Case: 1:04-@\/-§60 Documem #: 1 Filed: 03/31/04@@@ 1 of 26 PagelD #:1

F:_IN THE UNITED STATES DISTRICT COURT
FOR THE _l`LBORTI-IERN DISTRICT OF ILLINOIS

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GERALD v BoYD,
mm "‘P'E‘WM

Plaintiffs,
v.

‘CITY OF CI-IICAGO, an Illinois municipal
eorporation, OFFICER KEVIN RYAN,
individually and as employee of the City

of Chicago,'OFFICER THOMAS F]NEGAN,
individually and as employee of the City of
Chicago': OFFICER NOLAN, individually and
as employee of the City of Chicago,'OFFICER
QUINN, individually and as employee of the
City of Chieago, LIEUTENANT BLAKE,
individually and as employee of the City of

Chicago, OFFICER JOI-lN DOE l, individually _

and as employee of the City of Chicago,
OFFICER JOI-[N DOE 2, individually and as
employee of the City of Chicago, OFFICER
JOHN DOE 3, individually and as employee of
the City of Chicago, and OFFICER JOHN
DOE 4, individually and as employee of the
City of Chicago,

Defendants.

COl\'lPLAINT

WVVVV\J\-/WWVVVVVVVVVVVVWVVV`-/`_J

EASTERN DIVISION

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IURY TR.IAL DEMANDED_ §
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40 " c?~-] gj"-‘ég
' ij"‘j_!j fr§ '~’C?a'

 

`JUDGE Buci<m

` MAGISTRAT£ JuDGE u_;vm

GERALDINE I. BOYD, KEV]N C. BOYD, and CYNTHIA R. BOYD (“Plaintiifs”),

hereby complain of CITY OF CHICAGO, an Illinois municipal corporation, OFFICER KEVIN

RYAN, individually and es employee ef the city ef chieege, oFFIcER THOMAS FINEGAN,

individually and as employee of the City of Chicago, OFFICER NOLAN, individually and as

employee of the City of Chicago, OFFICER QUINN, individually and as employee of the City

of chieege, Ln_=.UTENANT BLAKE, mdividueuy end es employee of the city er chieage,

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OFFICER JOI-IN DOE l, individually and as employee of the City of Chicago, OFFICER JOI-IN
DOE 2, individually and as employee of the City of Chieago, OFFICER JOHN DOE 3,
individually and as employee of the City of Chicago, and OFFICER JOHN DOE 4, individually
and as employee of the City of Chicago (“Defendants") as follows:
JURISD!QTIQE
l. The United States District Court has jurisdiction over this matter pursuant to 28

U.S.C. sections 1331, 1343 and 1367.

w
2.; Venue is proper in this district pursuant to 28 U.S.C. Sec. 1391 (b).
LNM

3. - Plaintiffs GERALDINE I. BOYD (“Geraldine”), KEVIN C. BOYD (“Kevin"), and
CYNTI-l]A R. BOYD (“Cynthia”) are, and were at all times relevant herein, citizens of the
United States, and residents of the State of Illinois, County of Cook. Geraldine is the mother of
Kevin and Cynthia.

4. Plaintiffs’ race is white.

5. Defendant, City of Chicago (“Cit)f’) is, and was at all times relevant herein, an
Illinois municipal corporation.

6. Defendants OFFICER KEV[N RYAN', (“Ryan”), OFFICER THOMAS

 

' Kevin Ryan is listed as star number 13409, unit 153 on the Chicago Police
Deparnnent’s Property Inventory.

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FINEGANQ, (“Finegan”), OFFICER NOLANB, (“Nolan”), OFFICER QUINN‘, (“Quinn”),
LIEUTENANT BLAK.E‘, (“Blake”), OFFICER JOHN DOE l6 (“John Doe 1"), OFFICER
JOI-IN DOE 21r (“John Doe 2"), OFFICER JOHN DOE 3‘, (“John Doe 3"), and OFFICER
JOI-[N DOE 4 (“John Doe 4") are and were at all times relevant herein, employees of the
defendant City acting in their capacity as swom peace officers of the Chicago Police Department.

7. On April 1, 2003, Kevin was driving his car at 67“' and Western in Chicago and had
pulled into a gasoline station.

8. ' Police officers John Doe 1 and John Doe 2 stopped Kevin, John Doe 1 asked for
Kevin’s drivers license, and demanded that Kevin get out of his car.

9. John Doe 1, with no grounds whatsoever, &islted Kevin and told Kevin (who is
white) that he did not belong in that neighborhood (which is predominately African-American).

10. John Doe 2, with no grounds whatsoever, searched Kevin’s car, including opening
and searching the closed center storage compartment

11. 'I'here were no firearms in Kevin’s car, nor was Kevin carrying any firearms

Nevertheless, John Doe l and John Doe 2 unlawfully assumed that Kevin was either a gun dealer

 

2 Themes Finegen is listed as star number 14734, unit 153 on the chicago Police
Department’s Property Inventory. '
3 On information and belief, Nolan’s star number is 16523.

‘ On information and belief, Quinn’s star number is 18626.

5 On information and belief, Blake’s star number is 454.

6 On information and belief, John Doe l's unit is 812 n'om the 8"1 District.
7 On information and belief, John Doe 2's unit is 812 from the 8“' District.
s On information and belief, John Doe 3's star number is 16626.

3

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or dope dealer and, without any grounds, unlawfully demanded that Kevin reveal anything and
everything about any guns that Kevin ever knew about.

12. Under unlawful duress, Kevin told John Doe l and John Doe 2 that his family
owned lawfully-registered, old firearms that had been inherited from his grandfather, and that
those firearms were locked up at the Boyd family home.

13. John Doe 1 and John Doe 2 unlawfully demanded that Kevin immediately produce
the firearms to them.

14. Kevin stated he would not surrender the firearms unless the officers had a warrant.

15. John Doe 2 then falsely claimed he had found a twig of marijuana in Kevin’s car
and would charge Kevin with unlawfi.rl possession of drugs and lock up Kevin in jail, unless
Kevin brought them to the firearms immediately.

16. John Doe 1 and John Doe 2 locked Kevin in the back seat of their patrol vehicle.
John Doe 1 drove Kevin to the Boyd family home, and John Doe 2 drove Kevin’s car to the Boyd
family home. Both officers escorted Kevin inside. -

17. Kevin’s mother, Geraldine, and sister, Cynthia, were home and Kevin told them
everything that happened. John Doe l and John Doe 2 then unlawfully entered the family’s
horne without voluntary consent.

18. Under unlawful duress, Geraldine showed John Doe l and John Doe 2 all firearms
registrations These registrations were lawfully issued to Plaintiffs by the City.

19. John Doe l and/or John Doe 2 stated that the registrations were not legal and
demanded to see the firearms. l

20. Under unlawful duress, Geraldine unlocked the firearms and showed them to John

 

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Doe 1 and John Doe 2.

21. Either John Doe 1 or John Doe 2 went outside Plaintiffs’ home, made an
approximately 20-minute cellular phone call, went back in Plaintiffs’ home, and said everything
was fine with Plaintiffs’ firearms registrations

22. John Doe 1 end John nee 2 1eri Pleiiiiiirs’ family home

23. Ten days -later, at approximately 10:00 p.m. on April ll, 2003, a total of seven
Chicago police officers, including at least Ryan, Finegan, Nolan, Quinn, Blak_e, John Doe 3 and
John Doe 4 (the “Oflicers”), arrived at Plaintiffs’ home and banged on the door, and demanded
to be let in. Blalce anived separately, a short time after the first group of six.

24. The two women, Geraldine and Cynthia, were home alone at the time.

25. Geraldine opened the door just enough to see out, and the Officers pushed their
way into Plaintiffs’ homel

26. One or more of the Oflicers stated that Plaintiffs had illegal guns and demanded
that the purportedly illegal firearms be produced.

27 . Geraldine asked the Oflicers for a search warrant

28. Finegan and/or other Officers stated that he/they did not need a search warrant

29. Under unlawful duress, Geraldine got all firearms registrations and showed them
to the Officers, but the Offrcers did not want to see the registrations and did not check theml

30. Geraldine repeatedly told the Officers to leave her home.

31. The Oflicers refused to leave, but Blake and/or other Officers told Geraldine to
show him and/or other officers the guns or he/they would arrest her and Cynthia

32. Visibly scared and upset and under unlawful duress, Geraldine (a 63-year old

 

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teacher of_` handicapped children) unlocked the firearms and showed them to one or more of the
Officers.

33. One of the 0flicers took five of the firearms, and threatened to arrest and jail
Geraldine and Cynthia unless Geraldine immediately phoned Kevin.

34. Geraldine did phone Kevin, but one of the Oflicers grabbed the phone from her
and told Kevin that the Oiiicers would arrest his mother and sister and throw them in jail if
Kevin did not return home immediately.

35. One or more of the Oflicers ordered both Geraldine and Cynthia to go with them
to the police station. n

36. Geraldine begged the officers to let Cynthia remain at home, explaining that
Cynthia was pregnant and had suffered_a previous miscarriage and was already very upset by the
0fficers’ actions that evening.

37. The Officers drove Geraldine to the police station, taking five of Plaintiifs’
lirearrns, only one of which was registered to Kevin.

38. Upon arrival at the police station, Geraldine was forced to go through the
prisoners’ entrance and was then placed in an interrogation room with several of the Oflicers,
including one who blocked the door.

39. One of the Ofiicers called the Boyd horne from the police station and spoke with
Kevin. The Officer told Kevin that they had detained his mother, and if Kevin did not come to
the station immediately, they would arrest Geraldine and put her in jail.

40. When Kevin arrived at the station, he was grabbed by several of the Ofl`icers,

handcuffed, dragged and pushed to the room his mother was in, and chained to the wall._

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41. Kevin and Geraldine repeatedly requested that they be released and that their
firearms be returned, but the Officers refused their requests.

42. The Ofiicers, including but not limited to Ryan and Finegan, continually berated
Kevin in front of his mother, calling him a drug dealer, gun dealer, gang banger, wimp, and sissy,
momma’s boy, and claimed Kevin engaged in trading “guns for dope.”

43. The Offrcers, including but not limited to Ryan and Finegan, discussed in Kevin’s
and Geraldine’s presence how the Officers were going to divide up the Boyds’ seized firearms
amongst themselves for the Officers’ own personal property.

44. At isome'point thereafter, the police drove Geraldine home,

45. Despite the fact that Kevin did not own all five firearms unlawfully confiscated, he
was charged with five counts of violating City of Chicago Municipal Code 8-20-050, and was
locked up in a jail cell for approximately four hours. All charges were subsequently non-suited.

46. Plaintiffs have received an order releasing the four of the five seized lirearms, and
the City did not object to the return of the frrearms. However, because the City did not even
inventory one of the firearms, the Boyds are experiencing difficulty getting the fifth returned.

47. Plaintiffs have sought professional counseling to help them with the ongoing
emotional distress, anguish, and mental trauma which arose from the above events.

COUNT l

Racial Discrimination Under 42 U.S.C. Sec. 1981
lQefendBts ngln Qge 1 and Jghn Qoe 21

48. Plaintiff Kevin C._ Boyd realleges paragraphs 1-47 above as though fully set forth in
this count.

49. When Kevin (who is white) was originally stopped on April l, 2003, with a minor

 

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traffic offense as the apparent pretext, Oflicers John Doe l and John Doe 2 did not have any
basis whatsoever to believe Kevin was dangerous or was involved in criminal activity so as to
justify the frisk and car search.

z 50. Officers John Doe l and John Doe 2 had no traffic violations to charge Kevin
with,: but they stereotyped Kevin as a “drug dealer” and “gang bangef’ simply because Kevin was
a white person driving in an Afiican-American neighborhood

51. Ofiicers John Doe l and John Doe 2 disregarded proper police procedure by
sterectyping Kevin on account of his race, and thereby denied Kevin equal protection of the laws
of the United States.

52. As a direct and proximate result of the deprivation of equal protection of the laws
or the United states by defendants John Doe 1 end John Doe 2, Kevin sustained severe emotional
pain and suff`ering, distress, anguish, and mental trauma

z WHEREFORE, Plaintiff, Kevin C. Boyd, respectfully plays that judgment enter against
defendants John Doe l and John Doe 2 in an amount in excess of $l ,000,000.00 in compensatory
damages to be proved at uial, and an amount in excess of $1,000,000.00 in punitive damages to

be proved at trial, as well as costs of prosecuting this action and reasonable attomey’s fees.

COUNT lI
De rivation ofCivilRi ts nder 42 . .C. Sec. 19
efendants Fine an Nol ujnn Blake ohn

John Doe 2 John Do and ohn Doe
53. Plaintifi`s Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege
paragraphs 1-47 above as though fully set forth in this count.

54. Under the Fourth Amendment of the United States Coostitution, Plaintiffs had the

 

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right to needom h‘om unreasonable searches and seizures independent of any claim based on
race, national origin and/or discrimination

55.- Def`enclants John Doe l and/or John Doe 2, acting under color of state law,
disregarded proper police procedure and violated Plaintiffs’ Fourth Amendment rights against

unreasonable searches and seizures in one or more of the following ways:

a. frisking Kevin without a warrant or reasonable suspicion to believe Kevin was
dangerous or was involved in criminal activity;
b. searching Kevin’s car without a warrant or reasonable suspicion to believe Kevin

was dangerous or was involved in criminal activity;

c. seizing Kevin on April l, 2003, and forcing him to bring the police to his home,
without a warrant or reasonable suspicion to believe Kevin was dangerous or was
involved in criminal activity; and/or

d. searching Plaintiffs’ home on April 1, 2003, without a warrant or reasonable

' suspicion to believe Pla.intifi`s were dangerous or involved in criminal activity.

56. Defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and/or John Doe 4,
acting under color of state law, disregarded proper police procedure and violated Plaintili's’
Fourth Amendment rights against unreasonable searches and seizures in one or more of the
following ways:

a searching Plaintiffs’ home on April 1 l, 2003, without a warrant or reasonable

_ suspicion to believe Plaintiffs were dangerous or involved in criminal activity;

b. threatening to arrest and jail Geraldine and Cynthia on April 1 l, 2003;

c. seizing Geraldine and Kevin on April ll, 2003 and detaining them at the police

station, and arresting Kevin on charges that were later non-suited; and!or

d. seizing lawfiilly-registered firearms without a warrant

57. As a direct and proximate result of violation of Plaintiffs’ Fourth Amendment
rights by defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe l, John Doe 2, John Doe 3,
and John Doe 4, Plaintiffs sustained severe emotional pain and sufi`ering, distress, anguish, and

mental tramna.

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WHEREFORE, Plaintiffs, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R Boyd,
respectfully pray that judgment enter against defendants Ryan, Finegan, Nolan, Quinn, Blake,
John Doe 1, John Doe 2, John Doe 3, and John Doe 4 in en amount in excess of $1,000,000.00 in
compensatory damages to be proved at trial, and an amount in excess of $1,000,000.00 in 7

punitive damages to be proved at trial, as well as costs of prosecuting this action and reasonable

attorney’s fees.

 

58.` Plaintiffs Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege
paragraphs 1-47 and Count I[ above as though fully set forth in this count.

59. The treatment of Plaintiffs as detailed above was a direct result of the City’s
policies and overzealous cnisade against handguns, which is so out of control that lawfully-
registered firearms are being improperly seized and Fourth Amendment lights of law-abiding
citizens are being ignored and violated. Among other things, the City awards police officers
“points” for recovering handguns.

60. As a direct and proximate result of the City’s policy, Plaintiffs' Fourth
Amendment rights were violated and Plaintiffs sustained severe emotional pain and suffering,

distress, anguish, and mental trauma.

10

 

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WHEREFORE, Plaintifi`s, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd,
respectfully pray that judgment enter against Defendant City of Chl'cago in an amount in excess
of $1,000,000.00 in compensatory damages to be proved at trial, as well as costs of prosecuting

this action and reasonable attorney’s fees.
COUNT IV
§tm§_l»_a_w_e___SSalllf_§’C__Baff¢;ni
efendants R an Fine an N lan inn l John Doe 3 and John Doe 4

61. Plaintiff Kevin C. Boyd realleges paragraphs 1-47 above as though tirlly set forth in
this count

62. The grabbing, pushing, dragging and chaining of Kevin by one or more of
defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and John Doe 4 constituted harmlirl
and/or offensive bodily contact

63. Such use of excessive force caused Kevin a reasonable apprehension of further
harmful and/or offensive contact as Defendants continued their “interrogation.”

64. Each of the foregoing Defendants knew there was a high probability that their
conduct would cause Kevin harinde and/or offensive contact, or the apprehension thereof and

acted intentionally, recklessly and/or willfully and wantonly, in reckless disregard as to the effect

of their conduct

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WPIEREFORE, Plaintiff, Kevin C. Boyd, respectfully prays that judgment enter against
defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and John Doe 4 in an amount in
excess of $1,000,000;60 in compensatory damages to be proved at trial, and an amount in excess
of $1,000, 000. 00 in punitive damages to be proved at trial, as well as costs of prosecuting this
action and reasonable attomey’ s fees.

z COUNT V

State wDe am ti n
e endantsR an F' an Nolan `nn Blake John Do dJohn oe4

i l v

65. Plaintifi` Kevin C. Boyd realleges paragraphs 1-47 above as though fully set forth in
this count. il

66. Statements made by defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3,
and John Doe 4 m the presence of Geraldine and others that Kevin was a drug dealer, gang
banger, and exchanged guns for dope” are false and impute that Kevin engaged' m criminal
behavior.

67. Each of the foregoing Defendants had adequate opportunity between April l, 2003,
when Kevin was first stopped, and April ll, 2003, when the statements were made, to determine
that such statements were false, and made such statements intentionally, recklessly and/or

willti.llly and wantonly,; knowing such statements were false or in reckless disregard as to their

truth.

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WHER.EFORE, Plaintiif, Kevin C. Boyd, respectfully prays thatjudgment enter against
defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and John Doe 4 in an amount in
excess of $1,000,000.0_0 in compensatory damages to be proved at trial, and an amount in excess
of $1,000,000.00 in punitive damages to be proved at u'ial, as well as costs of prosecuting this
action and reasonable attorney’s fees.

COUNT VI

Sge Qw Falsg lmprisonmgnt
ilgefendants Rm, Figegan, §olan, Quinn, Bl§e,

John Doe l, Jghn Doe 2, low Dge 3, and Jghn gee 41

68. Plaintiffs Geraldine I. Boyd and Kevin C. Boyd reallege paragraphs 1-47 above as
though fully set forth in this count.
69. Defendants John Doe 1 and/or John Doe 2 involuntarily entrance Kevin by locking
Kevin in the back of a patrol car on April l, 2003, and escorting him home,
70. One or_more of defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and
John Doe 4 caused the involuntary confinement of Geraldine and/or Kevin in one or more of the
following ways:
a. - forcing Kevin to travel to the police station on April 11, 2003, under threat of the
arrest and incarceration of his mother and sister;
b. forcing Geraldine to go to the police station and remain there, under threat of
arrest and incarceration; and/or
c. chaining Kevin to the wall at the police station on April ll, 2003.
71 . Each of the foregoing Defendants knew there was a high probability that Geraldine
and Kevin would be confined by their conduct and acted intentionally, recklessly andlor willfully

and wantonly, in reckless disregard as to the effect of their conduct.

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WHEREFORE, Plaintiffs, Geraldine I. Boyd and Kevin C. Boyd, respectfully pray that
judgment enter against defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe l, John Doe 2,
John Doe 3, and John Doe 4 in an amount in excess of $1,000,000.00 in compensatory an
amount in excess of $1,000,000.00 in punitive damages to be proved at trial, as well as costs of
prosecuting this action and reasonable attorney’s fees.

COUNT VII

State Law mtegtional ln__fligtion of Emo_tional Distrgss
[Qefgndants Ryan, Einegan, Nolg, Qm'nn, Bla_lg§,

John Doe l, John Doe 2l Jolm Doe §. and John we 41 _

72. Plaintiffs Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege
paragraphs 1-47 above as though fully set forth in this count.

73. The conduct of defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 1, John
Doe 2, John Doe 3, and John Doe 4 was extreme and outrageous

74. Each of the foregoing Defendants knew there was a high probability that their
conduct would cause Pla.intiffs severe emotional distress and acted intentionally, recklessly
and,/or willfully and wantonly, in reckless disregard as to the eEect of their conduct on Plaintiffs.

75. The foregoing Defendants’ conduct did in fact cause Plaintiffs severe emotional

distress

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WI-[EREFOR.E, Plaintitfs, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd
respectfully pray thatjudgment enter against defendants Ryan, Finegan, Nolan, Quinn, Blake,
John Doe l, John Doe 2, John Doe 3, and John Doe 4 in an amount in excess of $1,000,000.00 in
compensatory damages to be proved at trial, and an amount in excess of $l ,000,000.00 in
punitive damages to be proved at trial, as well as costs of prosecuting this action and reasonable

attorney’s fees.

COUNT V[lI

State Law lnvasion of Privacy
{Qefendants Ryan, Finegan, Nolan, Quinn, Blake,
Jo Do lJohnDo 2 JohnDoe3 and ohnDoe4

76. Plaintiffs Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege
paragraphs 1-47 above as though fully set forth in this count.
77. Defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe l, John Doe 2, John

Doe 3, and John Doe 4 intruded into Plaintiffs’ solitude in one or more of the follow ways:

a. searching Kevin’s car without a warrant or any basis to believe Kevin was
dangerous or was involved in criminal activity;

b. searching Plaintiffs’ home on April 1, 2003, without a warrant or any basis to
believe PlaintiH`s were dangerous or involved in criminal activity; and

c. searching Plaintiffs’ home on April l 1, 2003, without a warrant or any basis to

believe PlaintiH`s were dangerous or involved in criminal activity.
78. Each of the foregoing Defendants acted intentionally, recklessly and/or willfully

and wantonly, in reckless disregard as to the effect_of their conduct.

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WHER.EFORE, Plaintiffs, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd
respectfully pray that judgment enter against defendants Ryan, Finegan, Nolan, Quinn, Blake,
John Doe` l, John Doe 2, John Doe 3, and John Doe 4 in an amount in excess of $1,000,000.00 in
compensatory damages to be proved at trial, and an amount in excess of $1,000,000.00 in
punitive damages to be proved at trial, as well as costs of prosecuting this action and reasonable

attorney's fees.

COUNT ]X
State Law M icio osecution
ef ndan R Fine N lan ` B ake John Doe 3 and John oe4

79. Plaintiffs Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege
paragraphs 1-47 above as though fully set forth in this count.

7 80. Defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and John Doe 4

d caused Kevin to be arrested and charged with possession of unregistered firearms All such

charges were non-suited, in Kevin’s favor. l

81. Defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and John Doe 4
caused Plaintiffs’ lawfully-registered firearms to be seized without a warrant Plaintiffs have
obtained a court order for the return of such Erearms.

32. Because the police had mined on Aprii 1, 2003, that Plainarrs’ mem were
properly registered, each of the foregoing Defendants knew there was a high probability that they
had no basis to arrest Kevin and seize the firearms, and acted intentionally, recklessly and/or
willfully and wantonly, in reckless disregard as to such knowledge

83. Each of the foregoing Defendants was motivated by the City’s policy of awarding

“points” to police for handguns taken out of private ownership, and possibly even to convert

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Plaintiffs’ firearms to Defendants’ own personal use, rather than by any proper purpose such as
recovering weapons used in the commission of crime.

WHEREFORE, Plaintiti`s, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd
respectfully pray that judgment enter against defendants Ryan, Finegan, Nolan, Quinn, Blake,
John Doe 3, and John Doe 4 in an amount in excess of $ 1,000,000.00 in compensatory damages
to be proved at trial, and an amount in excess of $1,000,000.00 in punitive damages to be proved

at trial, as well as costs of prosecuting this action and reasonable attorney’s fees.

COUNT X
- §tate I__,gw Tres,pg§s
§Qefendants Ryan, Finegan, Nolan, Qgin___n, Elakg,

olin oel Jo Doe2 JohnDo 3 dJo Doe4

84. Plaintiff Geraldine I. Boyd realleges paragraphs 1-47 above as though fully set
forth in this count.

85. Geraldine is the owner of the home searched by defendants John Doe 1 and John
Doe 2 on April l, 2003 and by defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 1, John
Doe 2, John Doe 3, and John Doe 4 on April ll, 2003. ‘ -

86. When defendants John Doe l and John Doe 2 searched Geraldine’s home on Apri.l
l, 2003, even after she refused to allow them to do so without a warrant, each of them knew there
was a high probability that they wrongfully occupied Geraldine’s property and acted
intentionally, recklessly and/or willfully and wantonly, in reckless disregard as to the effect of
their conduct

87. When defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and John Doe

4 pushed their way into Geraldine’s horne on April 11, 2003, and remained there even after she

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asked them to leave, each of them knew there was a high probability that they wrongfully
occupied Geraldine’s property and acted intentionally, recklessly, and/or willfully and wantonly,
in reckless disregard as to the effect of their conduct.

WHBREFORE, Plaintiff, Geraldine I. Boyd, respectfully prays that judgment enter
. against defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe l, John Doe 2, John Doe 3,
and John Doe 4 in an amount in excess of $1,000,000.00 in compensatory damages to be proved
at trial, as well as costs of prosecuting this action and reasonable attorney’s fees.

COUNT XI
. §tate ng Tgspass _t,g Chattgl

(_D_efendants Rm, Finegan, Nolan, Quinn, Blake, John Doe 3, and Jghn Dge 4|

88. Plaintiffs Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege
paragraphs 147 above as though fully set forth in this count

89. The seizure of Plaintiffs’ lawfully-registered firearms (two of the guns were
registered to Geraldine, two were registered to Cynthia, and one was registered to Kevin) by
defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and John Doe 4 interfered with
Plaintiffs’ use and/or possession of the firearms.

90. Each of the foregoing Defendants knew there was a high probability that their
conduct would interfere with Plaintiffs’ use and/or possession of the firearms and acted
intentionally, recklessly and/or willfully and wantonly, in reckless disregard as to the effect of

their conduct

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WHEREFORE, Plaintiffs, Geraldine I. Boyd, Kevin C§ Boyd, and Cynthia R. Boyd
respectfully pray that judgment enter against defendants Ryan, Finegan, Nolan, Quinn, Blake,
John Doe 3, and John Doe 4 in an amount in excess of $1 ,000,000.00 in compensatory damages
to be proved at trial, and an amount in excess of $1 ,000,000.00 in punitive damages to be proved
at trial, as well as costs of prosecuting this action and reasonable attorney’s fees.

COUNT X]I
State Law Conversion

_ efe dantsRanFineanNol uinn lakeJhnDoe an hnD e4

91. Plaintiff Geraldine I. Boyd realleges paragraphs 1-47 above as though fully set
forth inithis count.- n ll

9_2. Defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and/or John Doe 4

seized the following live lowmly-reglstored firearms on April 11, 2003;

a. s/n SlOl-522850 registered to Kevin
b. s/n K50246 registered to Geraldine
c. s/n 544389 registered to Cynthia

n d. S/n 211950-5 registered to Cynthia
e. s/n K236772 registered to Geraldine

` 93. However, the Chicago Police Deparhnent prepared Property lnventories and
wrongly listed Kevin as owner of five firearms Further, the inventories list s/n 80968 as
belonging to Kevin.9 n

94. ' Plaintiffs have obtained a property release order directing that the following
firearms be returned to them:

op o/nslol-szzsso
b_. o/oxsoz-io

 

9 _ This firearm does not belong to any of the Boyds, has never in the past belonged
to any of the Boyds, and is not registered to any of the Boyds. lt has been ordered destroyed.

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c. s/n 544389
d. s/n 211950-5

95. Firearm s/n K236772 was not listed on any of the Property lnventories given to
Plaintifl`s. On information and belief, Commander Burton of the Chicago Police Department has
located firearm s/n K236772 in the computer records of the Evidence & Recovered l’roperty
Section of the Chicago Police Department.

96. Firearm s/n K23 6772 is an antique that Geraldine inherited from her father.- As

such, this particular firearm has a sentimental value to Geraldine which vastly exceeds the mere
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retail value of an equivalent item.

97. The seizure of Geraldine’s lawfully-registered firearm s/n K236772 by defendants
Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and/or John Doe 4, and the subsequent errors
in the Property lnventories signed by Ryan and Finegan, interfered so substantially with
Geraldine’s use-and/or possession of the firearm that it has been taken &om her.

98. Each of the foregoing Defendants knew there was a high probability that their
conduct would interfere with Geraldine’s use and/or possession of the firearm and acted
intentionally, recklessly and/or willfully and wantonly, in reckless disregard as to the effect of
their_conduct. l

WHEREFORE, Plaintiff, Geraldine I. Boyd respectfully prays that judgment enter against
defendants Ryan, Finegan, Nolan, Quinn1 Blake, John Doe 3, and John Doe 4 in an amount in
excess of $1,000,000.00 in compensatory damages to be proved at trial, and an amount in excess
of $1,000,000.00 in punitive damages to be proved at trial, as well as costs of prosecuting this

action and reasonable attorney’s fees.

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COUNT Xl]l

State Law Claim Against D§fendant§ R§@, Firleg_a_n, NolL,
Quinn, Blake, John Doe l, John Doe 2, John DQ§ 3, and John Doe 4
§§asg on lntent_igng!, Reckless and/911 Willful and §§anton Acts)

99. Plaintiffs Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege
paragraphs 1-47 above as though liilly set forth in this count
100. Defendants John Doe 1 and/or John Doe 2 intentionally, recklessly and/or

willfully and wantonly disregarded proper police procedure in one or more of the following

ways:
a. friskirlg Kevin without a warrant or any basis to believe Kevin was dangerous or
was involved in criminal activity;
b. _ searching Kevin’s car without a warrant or any basis to believe Kevin was

dangerous or was involved in criminal activity;

c. seizing Kevin on April 1, 2003, and forcing him to lead the police to his home,
without a warrant or any basis to believe Kevin was dangerous or was involved in
criminal activity; and/or

d. searching Plaintifl`s’ horne on April l, 2003, without a warrant or any basis to
believe Plaintiffs were dangerous or involved in criminal activity.

101. Defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and/or John Doe 4
intentionally, recklessly and/or willfully and wantonly disregarded proper police procedure in one
or more of the following ways:

a. searching Plaintiffs’ home on April 11, 2003, without a warrant or any basis to

believe Plaintiffs were dangerous or involved in criminal activity;

b. threatening to arrest and jail Geraldine and Cynthia;

c. seizing Geraldine and Kevin on April ll, 2003 and detaining them at the police

station, and arresting Kevin on charges that were later non-suited; and/or

d. seizing lawfully-registered firearms without a warrant

102. As a direct and proximate result of the intentional, reckless and/or willful and
wanton conduct of defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe l, John Doe 2,

John Doe 3, and John Doe 4, Plaintiffs sustained severe emotional pain and suffering, distress,

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anguish, and mental trauma.

WHER.EFORE, Plaintiffs, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd
respectfully pray that judgment enter against defendants Ryan, Finegan, Nolan, Quinn, Blake,
John Doe l, John Doe 2, John Doe 3, and John Doe 4 in an amount in excess of $1,000,000.00 in
compensatory damages to be proved at trial, and an amount in excess of $1,000,000.00 in
punitive damages to be proved at trial, as well as costs of prosecuting this action and reasonable
attorney’s fees.

COUNT XIV
Statg Law Claim Against Defendant Qity of Chicagg Based on_

the Doctring of Respgndeat Sugrigr for thg Intentional, Reckless
And_/gr Will§il, and Wanton Acts of its Employees and Agent_s_

103. Plaintiffs Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege all
paragraphs of Count Xlll above as though fully set forth in this count

104. At all times relevant herein, defendants Ryan, Finegan, Nolan, Quinn, Blake,
John Doe l, John Doe 2, John Doe 3, and John Doe 4 were employees and/or agents of defendant
City.

WHEREFORE, Plaintiffs, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd
respectfully pray that judgment enter against Defendant City of Chicago in an amount in excess
of $1,000,000.00 in compensatory damages to be proved at trial, as well as costs of prosecuting
this action and reasonable attorney’s fees.

COUNT XV
State Law Claim Against Defendant Cig of thcagg DM_dy'

105. Plaintiffs Geraldine l. Boyd, Kevin C. Boyd, and Cynthia R. Boyd reallege

paragraphs 1-47 above as though fully set forth in this count

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106. Defendants John Doe l and/or John Doe 2 intentionally, recklessly and/or

willfully and wantonly disregarded proper police procedure in one or more of the following

ways:
a. frisking Kevin without a warrant or any basis to believe Kevin was dangerous or
was involved in criminal activity; `
b. searching Kevin’s car without a warrant or any basis to believe Kevin was

dangerous or was involved in criminal activity;

c. seizing Kevin on April 1, 2003, and forcing him to lead the police to his home,
without a warrant or any basis to believe Kevin was dangerous or was involved in
criminal activity; and/or

d. searching Plaintiffs’ home on April l, 2003, without a warrant or any basis to
believe Plaintiffs were dangerous or involved in criminal activity.

107. Defendants Ryan, Finegan, Nolan, Quinn, Blake, John Doe 3, and/or John Doe 4
intentionally, recklessly and/or willfully and wantonly disregarded proper police procedure in one
or more of the following ways:

a. searching Plaintiffs’ home on April 11, 2003, without a warrant or any basis to
` believe Plaintiffs were dangerous or involved in criminal activity;
b. threatening to arrest and jail Geraldine and Cynthia;
c. seizing Geraldine and Kevin on April 11, 2003 and detaining them at the police
station, and arresting Kevin on charges that were later non-suited; and/or
d. seizing lawfully-registered firearms without a warrant

108. Defendant City caused Ryan, Finegan, Nolan, Quinn, Blake, John Doe _1, John
Doe 2, John Doe '3, and John Doe 4 to disregard proper police procedure by doing one or more of
the following:

a. maintaining a policy against firearms, including the award of “points,” which
encourages officers to act in an unlawful manner;

b. authorizing Ryan, Finegan, Nolan, Quinn, Blake, John Doe 1, John Doe 2, John
Doe 3, and John Doe 4 to conduct themselves as they did;

c. failing to appropriately train Ryan, Finegan, Nolan, Quinn, Blake, John Doe 1,
John Doe 2, John Doe 3, and John Doe 4, so that they would be familiar with
proper police procedure; and _

d. employing Ryan, Finegan, Nolan, Quinn, Blake, John Doe 1, John Doe 2, John

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Doe 3, and John Doe 4 while knowing that they were not familiar with proper
police procedure and/or had a history of overzealous enforcement of City of
Chicago ordinances regarding firearms
Wl-IEREFORE, Plaintiffs, Geraldine I. Boyd, Kevin C. Boyd, and Cynthia R. Boyd
respectfully pray that judgment enter against Defendant City of Chicago in an amount in excess
of $1,000,000.00 in compensatory damages to be proved at trial, as well as costs of prosecuting
this action and reasonable attorney’s fees.

Respectfully submitted,

GERALD ,KEle c , cYNTHIA R. BoYD
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goss J. PETERs

TI-IE LAW OFFICE F ROSS J. PETERS, LTD.
33 North County Street - Suite 402

Waukegan, Illinois 60085

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